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                      APPENDIX 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________
                                    )             Civil Action No. 03 MDL 1570 (GBD) (SN)
IN RE: TERRORIST ATTACKS ON         )             ECF Case
SEPTEMBER 11, 2001                  )
                                    )
____________________________________)

This document relates to:

Ashton, et al. v. Kingdom of Saudi Arabia, No. 17-cv-02003
Ashton, et al. v. al Qaeda, et al., No. 02-cv-6977


     ASHTON PLAINTIFFS’ PROPOSED JURISDICTIONAL DISCOVERY PLAN

                                 Document requests - KSA

      1.      For the years 1992 through and including September 11, 2001, regarding Fahad
Thumairy and his employment by the KSA, produce documents concerning:
          a. Thumairy’s employment including qualifications, job description and authority,
              the decision to assign Thumairy to the Los Angeles Consulate, his role as an
              Imam at the King Fahad Mosque, work reports, performance reviews, bonuses,
              pay increases, work budget, supervisors, work-related travel
          b. passports, travel records, visa applications
          c. statements of Thumairy
          d. calendar for 1999-2001
          e. credit card and bank records for 1999-2001
          f. communications and/or meetings of Thumairy with
                (i) Bayoumi
               (ii) Sowailem
              (iii) Omar Benomrane
              (iv) Mohdar Abdullah
               (v) Mihdhar
              (vi) Hazmi
             (vii) Aulaqi
            (viii) Basnan
              (ix) Abdi Mohamed
               (x) AHIF
              (xi) GRF
             (xii) his work supervisor(s)
          g. communications and/or meetings with Somali non-profits or charities in San
              Diego and funding of such organizations
          h. record of apartment rentals in Los Angeles in January and February 2000 by
              Thumairy, the Saudi Consulate and the King Fahad Mosque, including but not
              limited to rentals at the Avalon Westside Apartments in Los Angeles

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          i. Thumairy’s departure from the U.S. immediately prior to the 9/11 attacks, his
             return to the United States on December 24, 2001, and his subsequent departure.
          j. the denial of entry of Thumairy into the United States in 2003.

      2.      For the years 1992 through and including September 11, 2001, regarding Omar
Bayoumi and his employment by the KSA, produce documents concerning:
         a. Bayoumi’s employment in the United States including qualifications, job
              description and authority, the decision to assign Bayoumi to San Diego, work
              reports, performance reviews, bonuses, pay increases, work budget, supervisors,
              work-related travel
         b. Bayoumi’s work as an intelligence officer for the KSA
         c. statements of Bayoumi
         d. calendar for 1999-2001
         e. credit card and bank records for 1999-2001
         f. passports, travel records, visa applications
         g. school records, including applications
         h. videotape and/or log entry records of visits of Bayoumi to the KSA’s Los Angeles
              Consulate, including a visit on February 1, 2000
         i. communications and/or meetings of Bayoumi with
                (i) Thumairy
               (ii) Sowailem
              (iii) officials or staff at the KSA’s D.C. Embassy or Los Angeles Consulate
              (iv) Omar Benomrane
               (v) Mohdar Abdullah
              (vi) Mihdhar
             (vii) Hazmi
            (viii) Aulaqi
              (ix) Basnan
               (x) Yazid al Salmi
              (xi) Abdi Mohamed
             (xii) his work supervisor(s)
         k. videotapes of events attended by Hazmi and/or Mihdhar
         l. communications and/or meetings with Somali non-profits or charities in San
              Diego and funding of such organizations
         j. Bayoumi’s departure from the U.S. immediately prior to the 9/11 attacks

      3.    For the years 1992 through and including September 11, 2001, regarding Omar
Abdi Mohamed and WSRA, Abdi Mohamed’s employment by the KSA and the operations of
WSRA, produce documents concerning:
         a. Abdi Mohamed’s employment including qualifications, job description and
            authority, the decision to assign Abdi Mohamed to San Diego, his role with
            WSRA, work reports, performance reviews, bonuses, pay increases, work budget,
            supervisors, work-related travel
         b. passports, travel records, visa applications
         c. statements of Abdi Mohamed
         d. communications and/or meetings of Abdi Mohamed with
              (i) Sowailem

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               (ii) Thumairy
              (iii) officials or staff at the KSA’s D.C. Embassy or Los Angeles Consulate
              (iv) Bayoumi
               (v) Aulaqi
              (vi) Basnan
             (vii) AHIF
            (viii) GRF
              (ix) his work supervisor(s)
          e. the establishment, purpose and objectives of WSRA
          f. WSRA’s financial records, including its budget, revenues, ledgers, expenses,
              money transfers and bank and credit card records
          g. funds received by WSRA
          h. funds dispersed by WSRA and the intended recipient(s) of such funds
          i. communications regarding WSRA
          j. communications regarding the transfer of WSRA funds
          k. communications with Dahab Shil

      4.      For the years 1992 through and including September 11, 2001, regarding Khalid
Sowailem and his employment by the KSA, produce documents concerning:
          a. Sowailem’s employment including qualifications, job description and authority,
              the decision to assign Sowailem to the Washington, D.C. Embassy, work reports,
              performance reviews, bonuses, pay increases, work budget, supervisors, work-
              related travel
          b. passports, travel records, visa applications
          c. statements of Sowailem
          d. communications and/or meetings of Sowailem with
                (i) Abdi Mohamed
               (ii) Thumairy
              (iii) Bayoumi
              (iv) AHIF
               (v) GRF
              (vi) Aulaqi
             (vii) Basnan
   e. communications and/or meetings with Somali non-profits or charities in San Diego and
      funding of such organizations, including WSRA
   f. the departure of Sowailem from the United States in 2003, including messages received
      from the United States imposing requirements for his departure

       5.    For the years 1992 through and including September 11, 2001, regarding Hamdan
Shalawi, Mohamed Qudhaieen and their employment by the KSA, produce documents
concerning:
          a. their employment and schooling, including qualifications, job description and
             authority, work and school reports
          b. remuneration received, including from the KSA, KSA contractors, student
             stipends, Imam University, Saudi Students Club and/or U.S.-based Islamic
             Centers or Mosques
          c. communications and/or meetings of Shalawi and Qudhaieen with

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                    (i) Hani Hanjour
                    (ii) Thumairy
                    (iii)officials or staff at the KSA’s D.C. Embassy or Los Angeles Consulate
                    (iv) their work supervisor(s)
           d.   statements of Shalawi
           e.   statements of Qudhaieen
           f.   the IIASA conference in November 1999 in Washington, D.C.
           g.   the purchase of their tickets for America West flight 90 on November 19, 1999
           h.   their passports and visa applications
           i.   any travel to Pakistan or Afghanistan

       6.      For the years 1992 through and including September 11, 2001, regarding Soliman
al Buthe and his employment by the KSA, produce documents concerning:
           a. Buthe’s employment including qualifications, job description and authority, work
               reports, performance reviews, his “volunteer” work for AHIF, bonuses, pay
               increases, work budget, supervisors, work-related travel
           b. passports, travel records, visa applications
           c. statements of Buthe
           d. Buthe’s trip to the United States in March 2000, including the purchase of tickets,
               itinerary and any communications or/or meetings concerning that trip
           e. communications and/or meetings of Buthe with
                   (i) Ash-Shaikh
                   (ii) Shoumar
                   (iii) Abdi Mohamed
                   (iv) Bayoumi
                   (v) Thumairy
                   (vi) GRF
                   (vii) anyone concerning the funds carried by Buthe from the United States to
                          Saudi Arabia in 2000
                   (viii) his work supervisor(s)
           f. WSRA

       7.      For the period from Sept. 11, 2001 to present, documents regarding the post-9/11
employment by the KSA of Thumairy, Bayoumi, Abdi Mohamed, Shalawi, Qudhaieen and
Buthe, including but not limited to awards, promotions, bonuses and pay increases

       8.      For the period from 1992 through and including December 31, 2001, regarding
the premises comprising the KSA Embassy and Ambassador’s Residence in Kabul, Afghanistan,
produce documents concerning:
           a. the use of any part of the premises by the AHIF
           b. the use of any part of the premises by al Qaeda
           c. communications between the KSA and the AHIF regarding the AHIF’s use,
               possession or control of the premises
           d. communications between the KSA and the AHIF regarding the AHIF providing
               assistance for citizens of Saudi Arabia in Afghanistan
           e. the use of any part of the premises as a guest house by extremists, including but
               not limited to members of al Qaeda

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           f. visits to any part of the premises by Osama Bin Laden
           g. the sale of any part of the premises
           h. payments made for maintenances, utilities, services for the premises after
              September 1998

      9.      For the period from 1995 through and including September 11, 2001, regarding
Twaik Est, produce documents concerning:

           a. communications between the KSA and Twaik Est concerning Mamoun
              Darkazanli, Mohamed Zammar, Abdelfattah Zammar, Mahmdou Mahmud Salim
              and or Mamoun Darkazanli Import Export Company a.k.a. Darkazanli Export
              Import Sonderposten
           b. communications between the KSA and Mamoun Darkazanli, Mohamed Zammar,
              Abdelfattah Zammar and Mahmdou Mahmud Salim and/or Mamoun Darkazanli
              Import Export Company a.k.a. Darkazanli Export Import Sonderposten
           c. financial transactions between Twaik Est and Mamoun Darkazanli, Mohamed
              Zammar, Abdelfattah Zammar and Mahmdou Mahmud Salim and/or Mamoun
              Darkazanli Import Export Company a.k.a. Darkazanli Export Import
              Sonderposten

       10.     For the years 1992 through and including September 11, 2001, the KSA
passports, passport applications, visa applications and records of travel for the following
individuals:

               Hijackers responsible for the September 11th Attacks

           a. Abdulaziz Mohamed al Omari
           b. Ahmed Abdullah al Nami
           c. Ahmed Ibrahim al Haznawi
           d. Ahmed Saleh al Ghamdi
           e. Hamzeh Saleh al Ghamdi
           f. Hani Saleh Hanjour
           g. Khalid Mohamed al Mihdhar
           h. Majed al Moqed
           i. Mohand al Shehri
           j. Nawaf Mohamed al Hazmi
           k. Salem Mohamed al Hazmi
           l. Satam al Suqami
           m. Saeed Abdullah al Ghamdi
           n. Wail Mohamed al Shehri
           o. Walid Mohamed al Shehri

               Additional persons

           p. Wael Hamza Jelaidan
           q. Abdulrahman A.A. al Ghamdi aka Khalid Sheikh Mohamed
           r. Osama Mohamed Bin Laden

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             s. Osama Yousef Bassnan
             t. Abdul Moshen al Turki
             u. Abdullah bin Saleh al Obaid
             v. Abdullah Naseef
             w. Adnan Khalil Basha
             x. Abdullah Bin Laden

       11.        For each of the following organizations:

             1. Al Haramain Islamic Foundation
             2. Muslim World League
             3. International Islamic Relief Organization
             4. World Assembly of Muslim Youth aka Lajnat al Bir, aka
                Benevolence International Foundation aka al Bir al Dawalia
             5. Saudi High Commission
             6. Saudi Joint Relief Committee
             7. Saudi Red Crescent

first, produce documents concerning

                     (a) the involvement of the KSA in the founding and formation of the
                         organization
                     (b) any laws and Royal decrees of the KSA that mention the organization

second, produce documents for the period from 1992 through and including September 11, 2001
concerning:
                 (c) contributions, monetary payments and/or donations of property by the
                     KSA to the organization
                 (d) the directors, officers and employees of the organization operating under
                     diplomatic status of the KSA
                 (e) the issuance of diplomatic license plates used by directors, officers and
                     employees of the organization
                 (f) the use of KSA diplomatic and/or government passports by the directors,
                     officers and employees of the organization
                 (g) the directors, officers and employees of the organization who were
                     simultaneously employed in other capacities by the KSA
                 (h) the directions, review, approval and/or rejection by the KSA of
                     contributions made or proposed (i) by third parties to the organization, and
                     (ii) by the organization to third parties
                 (i) reports provided by the organization to the KSA, including but not limited
                     to reports concerning the organization’s budget, finances, donations,
                     activities, plans and priorities
                 (j) any monetary contribution, remuneration, fringe benefits and/or civil
                     service benefits and/or travel expenses provided by the KSA to the
                     directors, officers and employees of the organization
                 (k) the purposes of the organization as declared by the KSA



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                 (l) the participation of any representatives of the KSA on any joint
                     committee, committee, council, body, board or other component of the
                     organization, the use of KSA property, including but not limited to KSA
                     offices, Embassies, Consulates and diplomatic residences, and KSA’s
                     office supplies, phones, computers and internet, by the organization
                 (m) the KSA security clearances provided to any director, officer or employee
                     of the organization
                 (n) review and/or approval by the KSA of the employment or appointment of
                     the directors, officers and/or employees of the organization
                 (o) instructions and directions provided by the KSA to the organization
                     concerning the budget, projects, staffing, operations and activities of the
                     organization
                 (p) supervision of the organization, and/or its local branch, by the KSA’s
                     Embassies and/or Consulates, including but not limited to the supervision
                     of the Islamic Affairs Division at any Embassy or Consulate
                 (q) any bank accounts used by the organization, whether in the name of the
                     organization, the KSA or otherwise, in which a representative of the KSA
                     held signatory authority over the account

third, produce documents concerning:

                 (r) any closure of the organization and/or any office of the organization,
                     including but not limited to the documents concerning the disposition of
                     the assets and/or records of that organization and/or office

                    Discovery Pertaining to the Saudi High Commission

      1.     From 1996 through and including September 11, 2001, regarding the company
KA Stan, produce documents concerning:
          a. contracts
          b. payments, loans or advances
          c. project descriptions and cost
          d. correspondence
          e. banking records, including the records of BH Banka and Depozitna Banka,
             showing any transactions involving KA Stan
          f. records of any meetings or notes involving KA Stan
          g. correspondence or records concerning contacts with Wael Jelaidan, Yasin Kadi
             and/or Chafiq Ayadi

       2.      From 1993 through and including September 11, 2001 the employment records
including qualifications, job description and authority, assignment decisions, performance
reviews, bonuses, pay increases, work budget, supervisors and work-related travel for the
following individuals:
           a. Ali Ahmed Ali Hamad
           b. Abdelsamad al Bahrani
           c. Hassam al Din
           d. Abu Miqdad al Dosari

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             e.   Abu Abdelmalik al Libi
             f.   Yusuf Rahman
             g.   Abdullah al Matrafi
             h.   Hussain Jiffry


                                            Depositions

       1.         Fahad al Thumairy (official of the KSA)

Deposition subjects include: the nature and scope of Thumairy’s employment with the KSA from
1992-September 11, 2001; the identity and role of his supervisor(s); his relevant contacts with
Bayoumi, Sowailem, Abdi Mohamed and others in the Ministry of Islamic Affairs; his contacts
and assistance to the two hijackers and the purpose of such assistance; the instructions that he
received from others in the KSA and the directions he provided to assist the two hijackers; the
identity of the person(s) who “tasked” Thumairy to assist the two hijackers; why Thumairy left
his post in Los Angeles shortly before September 11, 2001 and did not return until December 24,
2001; Thumairy’s role at the King Fahad Mosque and the laundering of funds from the KSA,
AHIF and/or GRF through Somali charities in San Diego, including WSRA; Thumairy’s post-
9/11 employment by the KSA, including, awards, promotions, bonuses and pay increases.

       2.         Omar al Bayoumi (official of the KSA)

Deposition subjects include: the nature and scope of Bayoumi’s employment with the KSA from
1992-2001; his supervisory personnel; his relevant contacts with Thumairy, Sowailem, Abdi
Mohamed and others in the Ministry of Islamic Affairs; his contacts and assistance to the two
hijackers and the purpose of such assistance; the identity of the person(s) who “tasked” Bayoumi
to assist the hijackers; the instructions that he received from others in the KSA and the directions
he provided to give such assistance; his promotion, bonus and additional payments received in
April 2000; Bayoumi’s post-9/11 employment by the KSA, including awards, promotions,
bonuses and pay increases.

        3.        Khalid al Sowailem (official of the KSA)

Deposition subjects include: his position with the Ministry of Islamic Affairs in 1995 through
and including September 11, 2001; his supervision of and contacts with Thumairy; his contacts
with Bayoumi; his supervision of, visits and contacts with Abdi Mohamed; the scope of
employment of Thumairy, Bayoumi and Abdi Mohamed with the KSA; the laundering of funds
from the KSA, AHIF and/or GRF through Somali charities in San Diego, including WSRA; the
WSRA contacts with the AHIF and GRF; the ultimate beneficiary or beneficiaries of the WSRA
funds sent to Dahab Shil; Sowailem’s post-9/11 employment by the KSA, including awards,
promotions, bonuses and pay increases.

       4.         Defendant Wael Jelaidan (as a named defendant and official of the KSA, SRC,
                  SHC and SJRC)

Deposition subjects include: the internal operations of al Qaeda; his role in the diversion of KSA
funds to al Qaeda in Pakistan and Afghanistan; his role in using the Rabita Trust in support of al

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Qaeda; the SHC contracting his corporate entities; the role of Maram in supporting al Qaeda; his
role as Executive Director of SJRC; his trips abroad as a member of a KSA delegation; his post-
9/11 employment by the KSA, including awards, promotions, bonuses and pay increases.

       5.     Saleh bin Abdulaziz al Ash-Sheikh (as an official of the KSA, AHIF and WAMY)

Deposition subjects include: his responsibilities directing the AHIF and WAMY and with the
KSA’s Ministry of Islamic Affairs from 1992 through and including September 11, 2001; the
day-to-day control of the AHIF by the KSA; the AHIF’s use of the Kabul Embassy in
Afghanistan; the money laundering operation conducted by Buthe through the AHIF; support by
the AHIF and WAMY to al Qaeda; the laundering of funds from the KSA through Somali
charities in San Diego; the WSRA and Abdi Mohamed; Ash-Sheikh’s post-9/11 employment by
the KSA, including awards, promotions, bonuses and pay increases.

       6.     Defendant Abdullah Naseef (as a named defendant and official of the KSA,
              MWL, IIRO and WAMY)

Deposition subjects include: his responsibilities as the Secretary General of the MWL and IIRO
and as Vice Chairman of WAMY and as a Vice Chairman of the KSA’s Shura Council prior to
September 11, 2001; day-to-day control of the MWL, IIRO and WAMY by the KSA; his
knowledge of support provided by the MWL, IIRO and WAMY to al Qaeda; his post-9/11
employment by the KSA, including awards, promotions, bonuses and pay increases.

       7.     Defendant Abdullah bin Saleh al Obaid (as a named defendant and official of the
              KSA, MWL, IIRO and WAMY)

Deposition subjects include: his responsibilities as the Secretary General of the MWL and IIRO
and as Vice Chairman of WAMY and as a Vice Chairman of the KSA’s Shura Council prior to
September 11, 2001; the day-to-day control of the MWL, IIRO and WAMY by the KSA; his
knowledge of support provided by the MWL, IIRO and WAMY to al Qaeda; reasons for firing
the director of the MWL Pakistan; knowledge of funds being diverted to al Qaeda; his post-9/11
employment by the KSA, including awards, promotions, bonuses and pay increases.

       8.     Defendant Abdul Moshen al Turki (as a named defendant and as an official of the
              KSA, MWL and IIRO)

Deposition subjects include: his work as the Minister of Islamic Affairs from 1993 to 1999 and
as an officer of the MWL and IIRO from 2000 through and including September 11, 2001; his
knowledge concerning support from the MWL or IIRO to al Qaeda during the period; his
meetings with Thumairy; his trips to Afghanistan and the United States from 1996-2001; his role
as President of Imam Muhammad Ibn Saud University and its recruitment activities for al Qaeda;
Turki’s post-9/11 employment by the KSA, including awards, promotions, bonuses and pay
increases.

       9.     Defendant Adnan Khalil Basha (as a named defendant and as an official of the
              KSA and IIRO)



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Deposition subjects include: his responsibilities as the Secretary General of the IIRO and as Vice
Chairman of WAMY and as a Vice Chairman of the KSA’s Shura Council prior to September
11, 2001; day-to-day control of the MWL, IIRO and WAMY by the KSA; his knowledge of
support provided by the MWL, IIRO and WAMY to al Qaeda; Basha’s post-9/11 employment
by the KSA, including awards, promotions, bonuses and pay increases.

       10.     Defendant Soliman Buthe (as a named defendant and as official of the AHIF and
               the KSA)

Deposition subjects include: his responsibilities for the KSA and the AHIF prior to September
11, 2001; his communications and contacts with and day-to-day control of the AHIF by the
KSA; his role in the Chechnya money laundering scheme; the ultimate intended beneficiary or
beneficiaries of the funds (approximately $152,000) that Buthe carried from the AHIF in the
United States to Saudi Arabia in 2000; his knowledge of support provided by the AHIF to al
Qaeda; trips to San Diego; contributions to WSRA; Buthe’s post-9/11 employment by the KSA,
including awards, promotions, bonuses and pay increases.

       11.     Abdullah Bin Laden (as an official of the KSA and of WAMY)

Deposition subjects include: his responsibilities for the KSA and WAMY prior to September 11,
2001; his administrative role with the KSA Embassy in DC and with the Institute of Islamic and
Arabic Sciences in America; his role in funding the Benevolence International Foundation; his
and WAMY’s relationship with Mohamed Quadir Harunani, Sayid Rageah, Anwar Aulaqi; his
and the KSA’s relationship with Osama Basnan, Sulaiman al Ali, and Omar al Bayoumi; his
investments with BMI and Soliman Biheiri; Bin Laden’s post-9/11 employment by the KSA,
including awards, promotions, bonuses and pay increases.

       12.     Rule 30(b)(6) witness(es) of the KSA

In the event of that any of the KSA witnesses listed above 1-11 are found to be unavailable,
plaintiffs request that the KSA produce witnesses pursuant to Rule 30(b)(6) to address the
subject matters set forth above.

       13.     Rule 30(b)(6) witness of the KSA

Deposition subjects: the KSA’s application and use of passport indicator markers for persons
with ties to extremism and al Qaeda during the decade prior to and including September 11, 2001
and the identification of such markers on the passports of the 19 hijackers, Bayoumi and others.

       14.     Rule 30(b)(6) witness of the KSA

Deposition subjects: the closing of the KSA Embassy and Ambassador’s Residence in Kabul,
Afghanistan (“Embassy premises”) in 1998 and for the years 1998-2001: (1) the use of any of the
Embassy premises by (a) the AHIF and (b) al Qaeda; (2) the use of the Embassy premises as a
guest house; (3) any visits to the Embassy premises by Osama Bin Laden; and (4) any sale of any
of the Embassy premises.



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       15.     Rule 30(b)(6) witness(es) of the KSA’s Ministry of Islamic Affairs

Deposition subjects:

(1) regarding Thumairy, for the period that he was working for the KSA in California during the
1990’s through and including September 11, 2001: the scope of his employment, authority and
job duties, and the names of his supervisor(s) in the United States and Saudi Arabia;

(2) regarding Abdi Mohamed, for the period that he was working for the KSA during the 1990’s
through and including September 11, 2001: the scope of his employment, authority and job
duties, and the names of his supervisor(s) in the United States and Saudi Arabia;

(3) regarding the WSRA, its creation and purpose, the funds received by the WSRA from the
Global Relief Foundation and the AHIF in 1998-2000, and the ultimate intended beneficiary or
beneficiaries of the funds totaling approximately $350,000 sent by WSRA to Dahab Shil in
1998-2000.

                            Agreed Facts / Requests to Admit - KSA

        The Ashton plaintiffs propose that to narrow the scope of necessary discovery that
plaintiffs serve requests to admit and that the parties meet and if possible prepare a set of agreed
facts. The relevant facts include authenticating documents (for example, the apartment rental
documents signed by Bayoumi, Aff. ¶ 9, KSA’s “White Paper” Aff. ¶ 86, the Ernst & Young
report Aff. ¶ 101); validating statements made by the KSA (such as press accounts of Prince
Bandar Aff. ¶ 47 and Prince Turki Aff. ¶ 46 and KSA’s communications with the U.S.
government, Aff. ¶ 98); and confirming various facts (such as the KSA’s knowledge of al Qaeda
and knowledge of al Qaeda’s intent to wage terrorist attacks against the United States during the
decade prior to the 9/11 attacks, Complaint ¶¶17-35, basic policies regarding the KSA, such as
its propagation of Wahhabi Islam, Complaint ¶ 11, and monetary payments by the KSA and the
Royal family to MWL/IIRO, Aff. ¶¶ 103, 138).

                                      Third-party discovery

         The Ashton plaintiffs request the assistance of the Court to have the 9/11 Commission’s
materials and the records of U.S. government agencies, including the FBI and the Department of
Justice, produced, on a confidential basis if necessary, for the purposes of this litigation. The
U.S. has not yet released most of the investigation materials related to the 9/11 attacks and many
of the items that have been released are heavily redacted. In 2004, the 9/11 Commission agreed
that its materials would be made public in 2009. To date, most of the Commission’s materials
are still under seal. In addition, the U.S. has records concerning Abdi Mohamed and WSRA.

       Plaintiffs also seek relevant banking records of Bayoumi, Abdi Mohamed, WSRA and
the KSA Embassy in Washington, D.C. regarding the payments and money transfers described in
the accompanying affidavit.

        The extent of necessary third-party discovery will depend in part on whether the KSA
will agree to certain facts, the witnesses produced by the KSA and their testimony.

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                                 Discovery of other defendants

       As set forth in the accompanying affidavit, plaintiffs are in the process of conducting
discovery of other defendants that is directly relevant to the issues raised by the KSA’s motion.
That discovery includes document production and depositions of the MWL, IIRO, WAMY,
individual defendants who worked for those organizations and the KSA, other individual
defendants and al Rajhi bank, which has the banking records of the AHIF.




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